          Case 1:17-cv-04577-VEC Document 179 Filed 10/16/20 Page 1 of 3
                                                                              USDC SDNY
                                                                              DOCUMENT
                                                                              ELECTRONICALLY FILED
                                                                              DOC #:
UNITED STATES DISTRICT COURT                                                  DATE FILED: 10/16/2020
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------------- X
 WEI SU and HAI JUAN WANG,                                                  :
                                                                            :
                                     Plaintiffs,                            :
                                                                            :
                            -against-                                       :
                                                                            :
 SOTHEBY’S, INC.,                                                           :
                                                                            :
                                     Defendant.                             :
 -------------------------------------------------------------------------- :
 SOTHEBY’S, INC.,                                                           :
                                                                            :
                                     Counter-Claimant,                      :
                                                                            :
                            -against-                                       :
                                                                            :
 WEI SU, HAI JUAN WANG, and YEH YAO HWANG                                   :
                                                                            :
                                     Counterclaim-Defendants,               :  17-CV-4577 (VEC)
                                                                            :
 -------------------------------------------------------------------------- :        ORDER
 YEH YAO HWANG,                                                             :
                                                                            :
                                     Cross-Claimant,                        :
                                                                            :
                            -against-                                       :
                                                                            :
 WEI SU and HAI JUAN WANG,                                                  :
                                                                            :
                                     Cross-Defendants,                      :
 -------------------------------------------------------------------------- :
 WEI SU and HAI JUAN WANG,                                                  :
                                                                            :
                                     Cross-Claimants,                       :
                                                                            :
                            -against-                                       :
                                                                            :
 YEH YAO HWANG,                                                             :
                                                                            :
                                     Cross-Defendant,                       :
 -------------------------------------------------------------------------- X
         Case 1:17-cv-04577-VEC Document 179 Filed 10/16/20 Page 2 of 3




VALERIE CAPRONI, United States District Judge:

       WHEREAS on October 16, 2020, the parties appeared for a conference; and

       WHEREAS the parties confirmed that this case is not to be tried to a jury;

       IT IS HEREBY ORDERED that the parties must meet and confer to discuss how they

would like the bench trial to proceed, including the use of electronic platforms for witness

testimony. A joint proposal from the parties is due no later than Friday, October 23, 2020.

       IT IS FURTHER ORDERED that that any party that wishes to make motion(s) in limine

must file a letter of no more than three pages explaining the substance of such desired motion(s),

by no later than Friday, October 23, 2020. If any party files a letter indicating a desire to make

motions in limine, all other parties must file a letter of no more than three pages, stating whether,

and if so why, the party would oppose the proposed motions in limine, by no later than Friday,

October 30, 2020.

       IT IS FURTHER ORDERED that a telephone conference will be held on Friday,

November 6, 2020, at 2:00 P.M., to discuss any proposed motions in limine, to set a briefing

scheduling on such motions if one is needed, to set a schedule for the filing of a joint pretrial

order, proposed findings of fact, and proposed conclusions of law, and to set a final pretrial

conference and tentative trial date. All parties and any interested members of the public must

attend by dialing 1-888-363-4749, using the access code 3121171, and the security code 4577.

All attendees are advised to mute their phones when not speaking and to self-identify each time

they speak.

       IT IS FURTHER ORDERED that any Motion to Disqualify is due no later than Friday,

October 30, 2020. Any response in opposition to the Motion is due no later than Friday,




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November 13, 2020. Any reply in support of the Motion is due no later than Friday, November

20, 2020.



SO ORDERED.
                                                 ____________________________
Date: October 16, 2020                                 VALERIE CAPRONI
      New York, New York                             United States District Judge




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